Case 1:04-cv-Oll72-.]DT-STA Document 15 Filed 04/28/05 Page 1 of 14 Pa' |D'9 _

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IN THE UNITED sTATEs DISTRICT COURT 499 ».\ ¢.
FoR THE WESTERN DISTRICT oF TENNESSEE n/;;»_-,K.M 529 jo " .51'
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LARRY LONG, ) 513 VC‘,»
)
Plaintif`f`, )
)
v. ) No. 04-1172-T-An
)
CoMMIssIoNER oF )
socIAL sECURITY, )
)
Def`endant. )

 

ORDER AFFIRMING DECISION OF COMMISSIONER

 

Plaintif`f` Larry Long has filed this action to obtain judicial review of Defendant
Commissioner's final decision denying his applications for benefits under the Social Security
Act (“Act”), 42 U.S.C. §§ 401 et seq. and §§ 1381 et seq. Plaintiff‘s application for
disability insurance benefits Was filed on Decernber 8, 1999, and his application for
Supplernent Security Income benefits was deemed to have been filed on December 2, 1999,
With April 13, 1998, as the alleged date of` the onset of` his disability. The applications and
the request for reconsideration Were denied. Plaintif`f then requested a hearing before an
administrative law judge (“ALJ”), which was held on March 29, 2001.

On June 22, 2001 , the ALJ issued a decision, finding that Plaintiff` was not entitled
to benefits. The appeals council affirmed the ALJ's decision. This decision became the

Commissioner's final decision. Plaintif`f has filed this action, requesting reversal of the

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with Rula 58 and.'or_79 (a) FHCP on 5

Case 1:04-cv-01172-.]DT-STA Document 15 Filed 04/28/05 Page 2 of 14 Page|D 10

Comrnissioner's decision. For the reasons set forth below, the decision of the Comrnissioner
is AFFIRMED.

Pursuant to 42 U.S.C. § 405(g), a claimant may obtain judicial review of any final
decision made by the Commissioner after a hearing to which he was a party. “The court
shall have the power to enter, upon the pleadings and transcript of the record, a judgment
affirming, modifying, or reversing the decision of the Comrnissioner ofSocial Security, With
or Without remanding the cause for a rehearing.” I_d. The court's review is limited to
determining whether or not there is substantial evidence to support the Comrnissioner's
decision, 42 U.S.C. § 405(g); Drummond v. Cornmissioner, 126 F.3d 837, 840 (6th Cir.
1997), and whether the correct legal standards were applied Landsaw v. Secretary, 803
F.2d 21 1, 213 (6th Cir. 1986). When the record contains substantial evidence to support the
Comrnissioner‘s decision, the decision must be affirmed Stanley v. Secretary, 39 F.3d 1 15,
117 (6lh Cir. 1994) (citing Richardson v. Perales, 402 U.S. 389, 401 (1971)). “Substantial
evidence” is “such relevant evidence as a reasonable mind might accept as adequate to
support a conclusion.” Richardson, 402 U.S. at 401(quoting Consolidated Edison Co. v.
M, 305 U.S. 197, 229 ( 193 8)). When substantial evidence supports the Commissioner's
determination, it is conclusive, even if substantial evidence also supports the opposite

conclusion Felisky v. Bowen, 35 F.3d 1027,1035 (6th Cir. 1994).

Case 1:04-cv-01172-.]DT-STA Document 15 Filed 04/28/05 Page 3 of 14 Page|D 11

Plaintiff was born in 1952 and was forty-eight years old on the date of the hearing.
R. at 53, 297. He has a GED and one year of college. R. at 67. Prior to the alleged onset
date of his disability, Plaintiff worked as a masseur and ajanitor. R. at 300. Plaintiff stated
in his applications for benefits that his disability is due to partial left hand numbness and left
leg problems after triple heart bypass surgery R. at 53, 61.

ln his decision, the ALJ enumerated the following findings: (l) Plaintiff meets the
non-disability requirements for a period of disability and Disability Insurance Benefits set
forth in Section 216(i) of the Act and is insured for benefits through the date of this
decision; (2) Plaintiff has not engaged in substantial gainful activity since the alleged onset
of disability; (3) Plaintiff has an impairment or combination of impairments considered
“severe” based on the requirements in the Regulations, 20 C.F.R. § 404. 1 520(b), but he does
not have an impairment or combination of impairments listed in or medically equal to one
listed in Appendix 1, Subpart P, Regulations No. 4; (4) Plaintiff‘s allegations regarding his
limitations were not fully credible; (5) Plaintiff has the residual functional capacity to lift ten
pounds occasionally, stand or walk two hours, and sit for six hours; he can perform
occasional postural activities but must avoid extreme temperatures; (6) Plaintiff is unable
to perform his past relevant work; (7) Plaintiff is a younger individual with a high school
equivalent education and a skilled Work history; (8) Plaintiff has the residual functional
capacity to perform substantially all of the full range of sedentary work; (9) Based on an

exertional capacity for sedentary work and Plaintiff’ s age, education, and work experience,

Case 1:04-cv-01172-.]DT-STA Document 15 Filed 04/28/05 Page 4 of 14 Page|D 12

Medical-Vocational Rule 201.21, Appendix 2, Subpart P, Regulations No 4, directs a
conclusion of “not disabled”; (10) Plaintiff’s capacity for sedentary work is substantially
intact and has not been compromised by any nonexertional limitations; accordingly, using
the above-cited rule as a framework for decision-making, Plaintiff is not disabled; (11)
Plaintiff Was not under a “disability” as defined in the Act at any time through the date of
this decision, 20 C.F.R. §§ 404.1520(f) and 416.920(f).

The Social Security Act defines disability as the inability to engage in substantial
gainful activity. 42 U.S.C. § 423(d)(1). The claimant bears the ultimate burden of
establishing an entitlement to benefits. 20 C.F.R. § 404.1512(a); Born v. Secretary, 923
F.2d 1168, 1173 (6“‘ Cir. 1990). The initial burden of going forward is on the claimant to
show that he is disabled from engaging in his former employment; the burden of going
forward then shifts to the Commissioner to demonstrate the existence of available
employment compatible with the claimant's disability and background I_d.

The Commissioner conducts the following, five-step analysis to determine if an
individual is disabled within the meaning of the Act:

1. An individual who is engaging in substantial gainful activity Will not be
found to be disabled regardless of medical findings.

2. An individual who does not have a severe impairment will not be found to
be disabled.

3. A finding of disability will be made without consideration of vocational
factors, if an individual is not working and is suffering from a severe
impairment which meets the duration requirement and which meets or equals
a listed impairment in Appendix l to Subpart P of the regulations

4

Case 1:04-cv-01172-.]DT-STA Document 15 Filed 04/28/05 Page 5 of 14 Page|D 13

4. An individual Who can perform work that he has done in the past will not
be found to be disabled.

5. If an individual cannot perform his past work, other factors including age,

education, past work experience and residual functional capacity must be

considered to determine if other work can be performed
Wyatt v. Secretary, 974 F.2d 680, 683-84 (6th Cir. 1992). Further review is not necessary
if it is determined that an individual is not disabled at any point in this sequential analysis.
20 C.F.R. § 404.1520(a). Here, the sequential analysis proceeded to the fifth step. The ALJ
found that, based on Plaintiff” s age, education, and limitations, the grids directed a finding
of not disabled1

Plaintiff argues that the Commissioner erred in denying his application for benefits
(1) by not fulling developing the record; (2) in finding that Plaintiff’s testimony was not
credible; and (3) by not giving proper weight to the medical evidence in the record. Plaintiff
also argues that substantial evidence does not support the Comrnissioner’s decision.2

As in other Social Security Appeals filed with this court, Plaintiff’s counsel spends

much of his argument attempting to establish a pattern of misconduct by ALJ Schule. The

court addressed this argument in one of Plaintiff’ s counsel’s prior cases as follows:

 

l The grids or medical vocational guidelines are matrices of the four factors identified by Congress, i.e.,

physical ability, age, education, and work experience, which set forth rules that identify whether jobs requiring specific
combinations of these factors exist in significant numbers in the national economy. The grids provide a shortcut in
certain circumstances in determining whether a claimant can perform other work. Daniels v. Apfel, 154 F.3d l 129, l 132
(10‘11 Cir.l998)

2 Plaintiff has filed a thirty-seven page brief in violation of the twenty page limitation set forth in Local Rule

7.2(e). Plaintist counsel is advised that future briefs violating this Local Rule may be stricken unless permission has
been granted to exceed the page limitation.

Case 1:04-cv-01172-.]DT-STA Document 15 Filed 04/28/05 Page 6 of 14 Page|D 14

The court in Wells v. Apfel, 2000 WL 1562 845 (6th Cir.), was confronted with
similar allegations of bias by the ALJ who had rendered an unfavorable
decision in that case. The Wells court analyzed the issue as follows:

Although due process requires an impartial decision-maker in
judicial and quasi-judicial proceedings, the court must start
from the presumption that administrative adjudicators are
unbiased, and that honesty and integrity exist among them. E
Schwiker v. McClure, 456 U.S. 188, 195-96 (1982); Navistar
Intern. Transr). Coro. v. United States E.P.A., 941 F.2d 1339,
1360 (6th Cir.l99l). “But the burden of establishing a
disqualifying interest rests on the party making the assertion.”
McClure, 456 U.S. at 196. Alleged prejudice must be evident
from the record and cannot be based on speculation or
inference w § (stating the presumption of judicial
impartiality “can be rebutted by a showing of conflict of interest
or some other specific reason for disqualification”).

 

In Ginsburg v. Richardson, 436 F.2d 1146, 1151 (3rd Cir.l97l), plaintiff
alleged that “she was denied the right to a fair hearing by the conduct of the
hearing examiner.” Rejecting plaintiffs claim for failure to exhaust her
administrative remedies, the Third Circuit held:

If the appellant felt that she Was being deprived of a fair hearing, the
proper procedure Would have been for her to request the examiner to
withdraw from the case. Social Securities Regulation, 20 C.F.R. §
404.922. Thus, appellant's failure to request withdrawal of the
examiner during the hearing or in her request for review before the
Appeals Council constitutes a waiver of her right to object to the
conduct of the examiner

Id. at 1152-53,

Here, the ALJ expressed some frustration with Plaintiff‘s testimony and the
length and repetitiveness of Plaintiffs Counsel's VE cross examination
Despite these emotional displays during the hearing, the record evidence,
which withstands the standard of review on appeal, supported the ALJ's
decision and opinion. Although the ALJ may have been abrupt, such behavior
does not defeat the fact that none of Plaintiffs doctors said that he could not
work.

Case 1:04-cv-01172-.]DT-STA Document 15 Filed 04/28/05 Page 7 of 14 Page|D 15

Wells, 2000 WL 1562845 at **5-6.

 

In the present case, Plaintiff has not carried his burden of showing that the
ALJ Was prejudiced against him. The fact that the ALJ issued an unfavorable
decision against Plaintiff and has previously ruled against other claimants is
not "proof" of a bias against all Social Security claimants Furthermore,
Plaintiff’s counsel’s attempt to show that the ALJ’s decision in this case is
colored by his alleged bias against other claimants is not helpful and detracts
from the merits of Plaintiff’s claim. C_.f_`._ Gieseking v. Secretary, 1994 WL
228239 (6“‘ Cir.) * 8 n. 3 (“In his brief on appeal, claimant engages in a
lengthy diatribe against the Secretary for her historical mistreatment of Soeial
Security claimants With mental impairments Although somewhat
interesting, these discussions are irrelevant to our decision.”)

Dana Brooks v. Commissioner, Civ. No. 03-1047 (March l 1, 2004), ajj“’d, 2005 WL 415964
(6th Cir.).

Plaintiff’s counsel once again urges this court to look at the cases of other claimants
who were denied benefits to support his allegation that ALJ Schule is “systematically”
denying those claimants and Plaintiff due process of law.3 Plaintiff’s Brief at pp. 18~19. In
support of his argument, Plaintiff’s counsel has presented statistical “evidence” which
purports to show that ALJ Schule decides “the majority of his cases incorrectly.” I_d. at pp.
20-21 . While a statistical approach is interesting, it is not probative of what happened in M
case. Plaintiff’ s counsel is strongly advised to quit re-arguing other cases and to concentrate

on the case at hand. This plaintiff and plaintiffs represented by Plaintist counsel in other

 

3 Plaintist counsel asserts that he is not contending that ALJ Schule is biased but, instead, that he refuses

to ensure that the claimants before him receive due process of law and that he “routinely” ignores the applicable law.
Plaintiff’s Brief at p. 21. The court is not convinced that there is a difference between the two assertions

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Case 1:04-cv-01172-.]DT-STA Document 15 Filed 04/28/05 Page 8 of 14 Page|D 16

Social Security cases would be better served by having the facts and law of their own cases
presented to the court.

Tuming to Plaintiff’ s other arguments, Plaintiff contends that the ALJ did not fully
and fairly develop the record in the areas in which he found Plaintiff’ s credibility to be
lacking. Specifically, Plaintiff contends that the ALJ erred when stating that there was no
medical evidence that Plaintiff had “frequently recurring angina” and no documentation of
Plaintiff’s daily taking of Nitroglycerin R. at 27. According to Plaintiff, if the ALJ had
questions about these two issues, he should have made further inquiries at the hearing or
conducted a supplemental hearing or developed the record further. Related to this issue is
Plaintiff’ s argument that the ALJ erred in finding his testimony not to be credible.

Plaintiff is correct that he indicated on the appendix to Form HA 4486 that he takes
Nitroglycerin 2.5 milligrams twice a day and Nitroglycerin .4 milligrams as needed, R. at 94,
and that the medical records confirm that he has prescriptions for these drugs, R. at 222,
245-246, 259-260. However, he reported in March 1999 that he was not taking his
Nitroglycerin R. at 185. The medical records also show that Plaintiff reported no chest
pain in June 1998, occasional chest pain in December 1999, and no chest pain in January
2001. R. at 131, 203, 245. At the hearing, in March 2001, however, Plaintiff testified that
he had chest pain “maybe twice a week” and took Nitroglycerin “When it hurts.” R. at 310.

While it might have been more precise for the ALJ to state that there were

inconsistencies in the record concerning Plaintiff’ s usage of Nitroglycerin and the frequency

Case 1:04-cv-01172-.]DT-STA Document 15 Filed 04/28/05 Page 9 of 14 Page|D 17

of his chest pain, the ALJ could properly find that those inconsistencies weighed against
Plaintiff’s credibility _S__e;e_ Walters v. Commissioner, 127 F.3d 525, 531 (6“‘ Cir. 1997)
(“Discounting credibility to a certain degree is appropriate where an ALJ finds
contradictions among the medical reports, claimant’s testimony, and other evidence.”)

It appears to the court that the ALJ fulfilled his duty to fully develop the record. In
Nabours v. Commissioner, 2002 WL 31473794 at *2 (6"‘ Cir.), the plaintiff argued that the
ALJ failed to fully develop the record by not obtaining a certain medical report which was
mentioned in a treatment note of one of her physicians On appeal, the plaintiff contended
that the ALJ had a special duty to ferret out this report because of her pro se status at the
hearing. The court first examined the relevant law:

The claimant bears the ultimate burden to prove by sufficient evidence that
she is entitled to disability benefits. 20 C.F.R. § 404.1512(a). Only under
special circumstances, i.e., When a claimant is without counsel, is not capable
of presenting an effective case, and is unfamiliar with hearing procedures,
does an ALJ have a special, heightened duty to develop the record. Duncan
v. Sec'y of Health & Human Servs., 801 F.2d 847, 856 (6th Cir.1986); Lashley
v. Sec'y of Health and Human Servs., 708 F.2d 1048, 1051-52 (6th Cir.l983).
This court has cautioned that the determination of whether an ALJ has failed
fully to develop the record in derogation of this heightened responsibility must
be determined on a case-by-case basis, and that it is clear that a claimant may
waive his right to counsel. _I;L

Nabours, 2002 WL 31473794 at *3. The court then looked at the facts before it.

 

The instant record shows that Nabours, although presenting her case before
the ALJ without counsel, was able to put on her case with no discernable
problems. There is nothing of record that would indicate anyone took
advantage of Nabours when she waived counsel with knowledge of the
consequences She was sufficiently articulate in her direct testimony, she
mustered an impressive amount of supporting medical evidence, and she was

9

Case 1:04-cv-01172-.]DT-STA Document 15 Filed 04/28/05 Page 10 of 14 Page|D 18

attuned enough to the testimony of the VE so that she was able (with the help
of the ALJ) to conduct cross-examination and cause the ALJ to submit a new
hypothetical question to the VE. There is, in short, nothing in this record to
support a claim that the absence of counsel prevented Nabours, or the ALJ,
from fully developing the claims and relevant evidence or that this case falls
within the Lashley “special circumstances” arena.

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Here, Plaintiff Was represented at the hearing Therefore, the ALJ did not have a "special,
heightened duty" to develop the record. Plaintiff’s counsel had adequate opportunity to
question Plaintiff about any inconsistencies between Plaintiff’ s testimony and the medical
record. Thus, Plaintiff’ s argument is without merit. M Lance v. Commissioner, 1995 WL
723160 (6‘h Cir. 1995) (Claimant should point to evidence she would have submitted if
given the opportunity.)

A claimant’s testimony, taken alone, will not establish that he is disabled; instead,
there must be objective medical findings which show the existence of a medical impairment
that could reasonably be expected to give rise to the subject complaints alleged. C.F.R. §
404,1529(a). Duncan v. Secretary of Health & Human Servs., 801 F.2d 847 (6th Cir. 1986),
established a two-part test for determining whether a claimant suffers from disabling pain.
First, the court must determine whether objective medical evidence of an underlying medical
condition exists. If it does, then the court must determine: “(l) whether objective medical
evidence confirms the severity of the alleged pain arising from the condition; or (2) whether
the objectively established medical condition is of such a severity that it can reasonably be

expected to produce the alleged disabling pain.” l_d_4 at 853. The ALJ's opportunity to observe

10

Case 1:04-cv-01172-.]DT-STA Document 15 Filed 04/28/05 Page 11 of 14 Page|D 19

the demeanor of the plaintiff is invaluable and should not be lightly disregarded Villarreal
v. Secretag[ of Health & Human Servs., 818 F.2d 461,463 (6th Cir. 1987).

The ALJ evaluated Plaintiff” s subjective complaints and cited to specific evidence to
support his decision that Plaintiff was not disabled as opposed to discounting Plaintiff’s
complaints solely because the medical evidence did not support them. M Saddler v.
Commissioner, 1999 WL 137621 (6“‘ Cir.) ( “[T]he ALJ determined that ‘[t]he claimant’s
descriptions of the severity of her symptoms, pain, and limitations are not credible under the
criteria of Social Security Ruling 88-13 and 20 C.F.R. 416.929.’ The ALJ explained the
reasons for this determination, discussing the specific content of the medical evidence as
well as Ms. Saddler's own testimony. His explanation is supported by the evidence, and we
may not second-guess him.” (some citations omitted)).

The record shows that Plaintiff’ s condition was amenable to treatment As noted by
the ALJ, “The medical evidence clearly documents the claimant’s ongoing problems with
coronary artery disease. However, it just as clearly documents his successful treatment, and
his improvement since his surgery.” R. at 25.For example, on July 7, 1998, Dr. John
Matthews reported that Plaintiff had recovered “quite nicely” from his heart by-pass surgery
and that he had had an excellent result from treatment of his peripheral vascular disease R.
at 182. Dr. Matthews also opined that Plaintiff could return to his regular job. I_d.

Additionally, Plaintiff testified that nitroglycerin helps his chest pains. R. at 305, 310-11.

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Case 1:04-cv-01172-.]DT-STA Document 15 Filed 04/28/05 Page 12 of 14 Page|D 20

Impairrnents that are controllable or amenable to treatment cannot support a finding of
disability. Houston v. Secretar_'y, 736 F.2d 365, 367 (6th Cir. 1984).

Also militating against a finding of disability is the fact that Plaintiff continues to
smoke even though his alleged disability is due, in part, to heart problems R. at 308. _S_e_e_
Sias v. Secretary, 861 F.2d 475 (6“’ Cir. 1988) (per curiam) (“Although Brown suffers from
chronic obstructive pulmonary disease, his heavy smoking habit indicates that the condition
is not disabling.”) and Arnold v. Commissioner, 328 F.3d 419 (Table) (6th Cir. 2000) ("If
a claimant does not follow the prescribed treatment without a good reason, he will not be
found disabled 20 C.F.R. § 404.930(b). The evidence here indicated that plaintiffs doctors
repeatedly instructed him to stop smoking, but plaintiff continued to smoke despite those
wamings.") The ALJ found that Plaintiff’s “continuing to smoke in light of his cardiac and
vascular history is inconsistent with his testimony of debilitating illness.” R. at 27.

Based on the evidence in the record, the ALJ properly discounted Plaintiff’s
subjective complaints w Moon v. Sullivan, 923 F.2d 1175 (6th Cir. 1990) (“[T]he ALJ
may distrust a claimant‘s allegations of disabling symptomatology if the subjective
allegations, the ALJ's personal observations, and the objective medical evidence contradict
each other.”) gmc _al& W_a_ltqr_w, 127 F.3d 525 (6"‘ Cir. 1997) (lt is the
province of the Commissioner, not the court, to weigh the evidence and to make credibility

determinations and resolve material conflicts in the testimony.)

12

Case 1:04-cv-01172-.]DT-STA Document 15 Filed 04/28/05 Page 13,0f 14 Page|D 21

Finally, there is substantial evidence in`the record to support the Commissioner’s
determination that Plaintiff was not disabled In June 1998, Dr. Matthews, Plaintiff’s
vascular surgeon, opined that Plaintiff could return to full duty, and the remainder of the
medical opinions support Plaintiff’ s return to some range of work. Dr. Moses Kelly, a
cardiologist, examined Plaintiff in January 2001 and found that Plaintiff could perform
sedentary work. R. at 238 -246. Although Dr. Michael Bruggeman found that Plaintiff had
problems walking on his heels and toes, sedentary work does not require this skill. R, at 25,
252. Moreover, Dr. Bruggeman thought that Plaintiff’ s condition Would improve over time.
R. at 250, 252. Richard Spring, Ph.D., opined that Plaintiff had “no gross impairment with
respect to psychological functioning.” R. at 206.

Because there is substantial evidence in the record supporting the Commissioner's
decision denying Plaintiff's application for benefits, the decision of the Commissioner is
AFFIRMED. The clerk is directed to enter judgment accordingly

lT IS SO ORDERED.

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JAME§ D. TODD
UNITED STATES DISTRICT IUDGE

;LS’WLQM§

DATE

13

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
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